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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF INDIANA
                           AT NEW ALBANY
                                       )
HANNELORE BOORN                        )             Filed Electronically
                                       )
     PLAINTIFF,                        )     CASE NO. 4:20-cv-248
                                       )
VS.                                    )
                                       )
CAESARS ENTERPRISE SERVICES, LLC and   )
CAESARS RIVERBOAT CASINO, LLC          )
                                       )
     DEFENDANT                         )
                                       )

                                    NOTICE OF REMOVAL


        Come the Defendants, Caesars Enterprise Services, LLC and Caesars Riverboat Casino,

LLC (collectively “Caesars”), by counsel, for their Notice of Removal from the Harrison Circuit

Court to this Court pursuant to 28 U.S.C. § 1332, 1441, 1446, hereby files this Notice of Removal.

As ground for removal of this action, Caesars respectfully states as follows:

        1.      On November 17, 2020, the Plaintiff, 31C01-2011-CY-000046 (“Plaintiff”),

commenced this civil action against Caesars in the Harrison Circuit Court, designated therein as

Civil Action No. 31C01-2009-CT-000033. True and complete copies of the process, pleadings,

and orders served upon and filed by all parties in this action are attached as Exhibit 1.

        2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 (a) and

(b) because there is diversity of citizenship between the parties and the total amount claimed by

Plaintiff exceeds the jurisdictional minimum of $75,000, though Defendants deny liability to

Plaintiff’s claims for damages.

        3.      Upon information and belief, the amount in controversy exceeds $75,000, exclusive

of interest in costs.
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       4.      Plaintiff is citizen of Kentucky.

       5.      Pursuant to Cosgrove v. Bartolotta, 150 F.3d 729, 731 (7th Cir. 1998), “the

citizenship of an LLC for purposes of the diversity jurisdiction is the citizenship of its members.”

Pursuant to 28 U.S.C. § 1332 (c)(1), a corporation shall be deemed a citizen of its state of

incorporation and the state where it has its principal place of business.

       6.      Upon information and belief, Caesars Riverboat Casino, LLC is wholly owned by

and has as its sole member Roman Holding Company of Indiana, LLC. Roman Holding Company

of Indiana, LLC is wholly owned by and has as its sole member Caesars World, LLC. Caesars

World, LLC is wholly owned by and has as its sole member CEOC, LLC. CEOC, LLC is wholly

owned by and has as its sole member Caesars Resort Collection, LLC. Caesars Resort Collection,

LLC is wholly owned by and has as its sole member Caesars Growth Partners, LLC. Caesars

Growth Partners, LLC is wholly owned by and has as its sole member Caesars Holdings, Inc.

Caesars Holdings, Inc. is incorporated in Delaware and has its principal place of business in the

State of Nevada. Therefore, Caesars Riverboat Casino, LLC is a citizen of Delaware and Nevada.

       7.      Upon information and belief, Caesars Enterprise Services, LLC has as its parent

company, Caesars Entertainment, Inc. Caesars Entertainment, Inc. is incorporated in Delaware and

has its principal place of business in the State of Nevada. Therefore, Caesars Entertainment, Inc.

is a citizen of Delaware and Nevada.

       8.      This action arises from an incident that occurred on January 1, 2020. The Complaint

alleges that Plaintiff was injured in a slip and fall at a property owned and operated by Caesars.

       9.      This action is removable to this District Court pursuant to 28 U.S.C. § 1441(a). This

District and Division constitute the appropriate forum to which this action should be removed. The

Harrison Circuit Court is within the New Albany Division.



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        10.     Venue is vested in this Court pursuant to 28 U.S.C. § 1391 since this is a civil action

where jurisdiction is founded on diversity of citizenship and the events complained of occurred in

the Southern District of Indiana.

        11.     Pursuant to 28 U.S.C. § 1446(b), removal must be filed within thirty days after

receipt of the initial pleadings setting forth the claim for relief.

        12.     The Notice tendered herewith is being filed on December 11, 2020, within thirty

days of the receipt of Plaintiff’s Complaint, which was originally filed on November 17, 2020,

thus making removal timely.

        13.     Written notice of the filing of this Notice of Removal, the exhibits thereto, the

Notice and Certificate were mailed to Plaintiff’s counsel as of the date of this filing.

        14.     True and correct copies of the pleadings enumerated were filed with the Clerk of

the Harrison Circuit Court as of the date of this filing.

        WHEREFORE, Defendants, request the removal of this action from the Harrison Circuit

Court to this Court for all other appropriate procedures.

                                                Respectfully submitted,

                                                WALTERS RICHARDSON, PLLC

                                                /s/ Joshua J. Leckrone
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                                                     CERTIFICATE OF SERVICE

            I hereby certify that the foregoing was filed electronically on this 11th day of December,

2020. Notice of this filing will be sent to the following parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.

                                                                 /s/ Joshua J. Leckrone
                                                                 COUNSEL FOR DEFENDANTS




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